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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISON

 RANDY R. LIEBICH                    )
                                     )
                 Plaintiff,          )
                                     )
                 v.                  )                      11-cv-05624
                                     )
 WARDEN MARCUS HARDY; ALBERT J.      )
 KISSELL; N. JACKSON; JOHNNIE L.     )
 FRANKLIN; CHARLES P. FREDERICK;     )                      Judge Robert W. Gettleman
 ILLINOIS DEPARTMENT OF CORRECTIONS; )
 WEXFORD HEALTH SOURCES, Inc.;       )
 PARATHASARATHI GHOSH, M.D.;         )                      Mag. Judge Mary M. Rowland
 LIPING ZHANG, M.D.; RONALD          )
 SCHAEFER, M.D.; SALEH OBAISI, M.D.  )
                                     )
                  Defendants.        )

                              FOURTH AMENDED COMPLAINT

        NOW COMES Plaintiff Randy R. Liebich, by and through his attorneys, LOEVY &

LOEVY, and complaining of Defendants, Warden Marcus Hardy, Albert J. Kissell, N. Jackson,

Johnnie L. Franklin, Charles P. Frederick, the Illinois Department of Corrections, Wexford

Health Sources, Inc., Dr. Parathasarathi Ghosh, Dr. Liping Zhang, Dr. Ronald Schaefer, and

Dr. Saleh Obaisi, sued in their individual and official capacities (collectively, “Defendants”),

states as follows:

                                             The Parties

        1.      At all times relevant to the events at issue in this case, Plaintiff Randy Liebich is

and was incarcerated by the State of Illinois and held by the Illinois Department of Corrections

(“IDOC”) at Stateville Correctional Center (“Stateville”). Plaintiff has never before been a party

to any prior civil actions.
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       2.      At all times relevant to the events at issue in this case, Defendant Hardy was

employed by the IDOC in the capacity of Warden of Stateville Correctional Center. As such,

Defendant Hardy was acting under color of law.

       3.      At all times relevant to the events at issue in this case, Defendant Hardy

promulgated rules, regulations, policies, and procedures as Warden of Stateville Correctional

Center for the provision of certain medical care, including medical screening of inmates at

Stateville and for investigating and responding to inmate complaints and grievances relating to

medical care. Defendant Hardy’s policies were implemented by and through IDOC employees

including certain individual Defendant medical care providers, who were responsible for the

medical care of inmates at Stateville, including Plaintiff.

       4.      At all times relevant to the events at issue in this case, Defendant Hardy had

responsibility, inter alia, for ensuring that the practices of Stateville Correctional Center

complied with federal and state requirements for the treatment of inmates. Throughout his

tenure as warden, he had personal knowledge that the conditions of confinement challenged in

this case were being imposed on inmates at Stateville, including Plaintiff, and he implemented,

enforced, and/or condoned these conditions. Defendant Hardy is being sued in his official and

individual capacities for the challenged conditions of confinement.

       5.      At all times relevant to the events at issue in this case, Defendants Kissell,

Jackson, Franklin, and Frederick were employed by the IDOC and worked at Stateville. As

such, Defendants Kissell, Jackson, Franklin, and Frederick were acting under color of law.

       6.      Illinois Department of Corrections (“IDOC”) is an agency of the State of Illinois

that operates the State’s prison system.




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       7.      At all times relevant to the events at issue in this case, Defendant Wexford Health

Sources, Inc. (“Wexford”) was engaged in the business of providing medical care and treatment

to inmates, including Plaintiff, at Stateville Correctional Center, and had contracted with the

IDOC to perform such services. As such, Wexford was acting under color of law.

       8.      At all times relevant to the events at issue in this case, in its capacity as a

contractor to the IDOC, Wexford promulgated rules, regulations, policies, and procedures for the

medical screening, medical treatment, and overall medical care of inmates at Stateville

Correctional Center, including Plaintiff. Wexford policies were implemented by and through its

employees and the employees of the IDOC, including the individual Defendant medical care

providers and the individual Defendant correctional officers, who were responsible for the

medical care of inmates at Stateville.

       9.      At all times relevant to the events at issue in this case, Defendant Dr. Ghosh was

one of the treating physicians at Stateville and its Medical Director. In his capacity as Medical

Director, Dr. Ghosh promulgated rules, regulations, policies, and procedures for the medical

screening, medical treatment, and overall medical care of inmates at Stateville Correctional

Center, including Plaintiff. Dr. Ghosh is being sued in his official and individual capacities.

       10.     At all times relevant to the events at issue in this case, Defendants Dr. Ghosh, Dr.

Zhang, Dr, Schaefer, and Dr. Obaisi were employed by Wexford or by the IDOC to provide

medical services to inmates, including Plaintiff, at Stateville. As such, Defendants Dr. Ghosh,

Dr. Zhang, Dr, Schaefer, and Dr. Obaisi were acting under color of law and within the scope of

their employment with Wexford or the IDOC.




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                                      Jurisdiction and Venue

        11.      This action is brought pursuant to 42 U.S.C. Section 1983 to redress the

deprivation under color of law of Plaintiff’s rights as secured by the United States Constitution.

This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331 and 1367. Venue is

proper under 28 U.S.C. § 1391(b). On information and belief, at least one Defendant resides in

this judicial district, and the events giving rise to the claims asserted herein all occurred within

this district.

                                          Factual Allegations

        12.      Plaintiff began serving his sentence at Stateville in 2005. By September of 2009

Plaintiff began experiencing chronic and severe pain in his abdomen and kidneys.

        13.      By November 4, 2009 Plaintiff began requesting medical treatment from

Stateville medical staff for his pains.

        14.      From November 2009 until present, Plaintiff has continuously requested that

the Stateville medical staff, including Dr. Ghosh, Dr. Zhang, Dr. Schaefer, and Dr. Obaisi as

employees and/or agents of Wexford and/or IDOC, provide treatment for his medical

condition. These requests have been made via policies established by Warden Hardy and/or by

Wexford as well as through formal grievances.

        15.      From November 2009 until present, Stateville medical staff has provided only

cursory treatment; specifically the Defendants consistently refused Plaintiff’s requests for

medical treatment, referrals to a urology specialist, and administration of necessary

prescription medications.

        16.      From November 2009, until present, Plaintiff has made verbal and written

requests upon Defendants and has filed formal grievances regarding Plaintiff’s medical



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condition, his ongoing pain, and the failure to provide and administer medication prescribed by

licensed doctors to treat Plaintiff’s conditions.

        17.     Upon information and belief, all grievances made and/or filed were ignored

or wrongfully denied. Accordingly, it is established that Plaintiff has taken proper action to

exhaust his administrative remedies.

        18.     Defendants have, and continue to, deliberately deny Plaintiff adequate treatment

in that they have either failed to conduct further diagnostic testing, timely refer him to a

specialist, timely schedule follow-up appointments with appropriate specialists, provide and

administer medication to relieve pain, and refused to provide and administer medications

prescribed by urology specialists to treat Plaintiff’s condition.

        19.     On November 4, 2009, Plaintiff was seen by Dr. Zhang for his abdominal and

kidney pain. Dr. Zhang ordered lab tests and gave Plaintiff a pill, Donnatal, which provided no

relief for Plaintiff’s severe pain.

        20.     On November 10, 2009, Plaintiff was seen by Dr. Zhang for abdominal and

kidney pain. Dr. Zhang merely pressed on Plaintiff’s abdomen and lower back with her fingers

and indicated that she didn’t feel anything abnormal, so it was not anything serious. No

further medical care was provided at this time.

        21.     On November 15, 2009 Plaintiff’s lab tests results came back showing multiple

abnormal readings, including elevated blood-urea-nitrogen (“BUN”) and creatinine levels,

both of which are indications of kidney distress and/or other kidney complications.

        22.     On or about December 3, 2009, Plaintiff further requested that Dr. Zhang then

refer him to a specialist and prescribe him medication to relieve his pain. Dr. Zhang refused




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these requests and instead ordered another lab test. This lab test’s results also yielded

multiple abnormal readings.

         23.   On December 3, 2009, Dr. Ghosh ordered a lab test which also was abnormal

with high levels of creatinine and a low BUN-Creatinine ratio.

         24.   Between November 4, 2009 and April 1, 2010, Plaintiff submitted numerous

medical requests to Dr. Zhang and Dr. Ghosh, requesting medical treatment for his painful

condition. However, most requests were not answered.

         25.   Upon information and belief, on or about April 1, 2010 Plaintiff’s

counselor, Ricky Bishop, informed Plaintiff that he “spoke to someone” at the Health Care

Unit who related that Plaintiff had already been seen for his complaining issues several times

and there was not going to be any further appointments made regarding the same issues.

         26.   Plaintiff filed a grievance on April 2, 2010 regarding the comment made by Mr.

Bishop and the failure to answer his medical requests. Plaintiff requested treatment for his

pain. The request was denied by the Grievance Officer based upon the fact that medical

furloughs had been scheduled previously. However, these furloughs were actually

appointments to consult a cardiologist regarding matters not related to the abdominal and

renal pain the Plaintiff was experiencing. The denial was wrongfully confirmed by Warden

Hardy.

         27.   On April 26, 2010 Plaintiff filed another grievance asking for medical treatment

for his ongoing pain, explaining the previous furlough schedules and the need for new

appointments to address his abdominal and renal pain. This grievance was wrongfully

deemed “moot” by the grievance office in September 2010.




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        28.    Thereafter, on May 22, 2010 Plaintiff was seen by Dr. Zhang at the Asthma

Clinic (for an evaluation of his condition of asthma). After informing Dr. Zhang that he was

continuing to experience abdominal and kidney pain, Dr. Zhang responded by prescribing

Excedrin Migraine and indicating that the medication would alleviate the kidney and abdominal

pain.

        29.    During the same consultation with Dr. Zhang on May 22, 2010, Plaintiff

requested that Dr. Zhang refer him to a urology specialist. Dr. Zhang responded that it “costs

too much money to see a specialist, and that the Stateville medical staff could not be sending

inmates out for every little thing, or symptom.” Dr. Zhang stated that for him to be referred

to a urology specialist, Plaintiff’s condition would need to be “life threatening.”

        30.    By June 26, 2010 a kidney stone developed in Plaintiff’s kidney that was so large

it could not pass on its own via urination. It became lodged in plaintiff’s urethra, completely

obstructing urine flow. Plaintiff had not urinated in over 24-hours.

        31.    At approximately 9:30 a.m. on June 26, 2010, Plaintiff was sent to the Health

Care Unit at which time Dr. Obaisi diagnosed Plaintiff’s condition as an “impacted urinary

calculus,” (more commonly referred to as a “kidney stone”) which was lodged inside the urethra.

        32.    Rather than sending Plaintiff to the local hospital for appropriate emergency

treatment, Dr. Obaisi attempted to surgically remove the kidney stone himself without first

providing Plaintiff any form of anesthesia, causing very severe pain and discomfort.

        33.    Plaintiff had to repeatedly demand to be provided with anesthesia at which

time Dr. Obaisi decided to make several lidocaine injections into the tip of Plaintiff’s penis and

inside the urethra.




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       34.      Dr. Obaisi inflicted further physical damage on June 26, 2010 by stretching open

Plaintiff’s urethra with a hemostat, causing a small tear at the opening of the urethra. Dr. Obaisi

also punctured Plaintiff with a pair of tweezers. All injuries caused bleeding.

       35.      After unsuccessfully attempting to remove the kidney stone, and causing severe

pain and further damage to Plaintiff’s penis and urethra, over the objections of attending “Nurse

Tiffany,” Dr. Obaisi, with the request of “Nurse Tiffany,” decided that Plaintiff required

emergency treatment at St. Joseph Hospital, in Joliet, IL. However, Dr. Obaisi did not arrange

for Plaintiff to be transported for emergency medical care for several hours. Plaintiff was

placed in a “holding cage” from approximately 11:00 a.m. to 3:23 p.m. during which time

Plaintiff further suffered extreme pain and discomfort in his bladder and kidneys due to the

tremendous pressure from maintaining a full bladder for over 30 hours, in addition to the

injuries inflicted upon Plaintiff resulting from Dr. Obaisi’s surgical attempt to remove the

kidney stone.

       36.      Dr. Obaisi delayed Plaintiff’s emergency transport because of a policy at

Stateville which requires all employees to obtain authorization from the Medical Director

and/or Chief Administrative Officer before calling for emergency transport. This policy

caused unnecessary delay in Plaintiff’s emergency medical treatment and placed Plaintiff at

further risk of kidney damage where his bladder needed to be immediately drained.

       37.      Upon information and belief, it took Dr. Obaisi approximately four hours to

obtain authorization for Plaintiff’s transport to St. Joseph Hospital.

       38.      Once transported to Provena Saint Joseph Medical Center, a urology specialist,

Dr. Gregory Andros, determined that Plaintiff would have to be administered general anesthesia

and the kidney stone would have to be removed using a “laser procedure.”



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        39.    Plaintiff was discharged from Provena Saint Joseph Medical Center on June 27,

2010 and returned to Stateville the same day.

        40.    On June 28, 2010, Plaintiff showed Dr. Ghosh the tear at the tip of the urethra

and the injection site below it (caused by Dr. Obaisi’s surgical attempts to remove the kidney

stone on June 26, 2010). Plaintiff complained of severe pain due to these injuries, however

Dr. Ghosh stated that the injuries would heal quickly and simply prescribed Motrin for the pain.

        41.    On July 1, 2010, Plaintiff filed a grievance regarding the damage inflicted by

Dr. Obaisi and because of the failure to receive Motrin as prescribed by Dr. Ghosh. The

Grievance Officer’s response indicated that Dr. Obaisi’s conduct was “normal procedure,” and

further conceded that Motrin was prescribed, but did not address the issue of the Plaintiff

having received any dosage of Motrin. Ultimately, with the confirmation of Warden Hardy, the

Grievance Officer dismissed the grievance.

        42.    On July 2, 2010, Plaintiff was seen by Dr. Ghosh for pain in his kidneys and

abdomen, irritation in his bladder and continued burning sensation when urinating.

        43.    Plaintiff informed Dr. Ghosh that he was not receiving the Motrin he had

previously prescribed. Dr. Ghosh declined to provide any medication for Plaintiff’s pain during

this visit.

        44.    At the same appointment on July 2, 2010, Plaintiff also requested that Dr.

Ghosh refer plaintiff for a follow-up treatment and/or consultation with a urology specialist

because Plaintiff was still experiencing complications from the June 26, 2010 procedures

by Dr. Obaisi and Provena Saint Joseph Medical Center. Dr. Ghosh refused and instead ordered

a lab test.




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       45.      On July 6, 2010, the lab test results yielded abnormal results, including high

levels of creatinine, albumin, and a low BUN/creatinine ratio.

       46.      An attorney named Heather Kirkwood, who Plaintiff has remained in contact

with after she had reviewed his criminal conviction, made several attempts, via telephone, to

co n t ac t Stateville regarding Plaintiff’s medical issues and not receiving his prescribed

medications.

       47.      Upon information and belief, after Heather Kirkwood’s telephone calls,

Plaintiff began receiving his medication after spending approximately ten days in pain and at risk

of infection.

       48.      Upon information and belief, on July 20, 2010, Dr. Ghosh ordered another lab

test and this test also yielded abnormal results, including high BUN and creatinine levels.

       49.      On August 10, 2010 Plaintiff was seen by Dr. Shaefer at the Asthma Clinic;

Plaintiff described his medical condition including chronic pain, trouble urinating and injuries

caused by Dr. Obaisi. Dr. Schaefer examined Plaintiff where he sustained the injuries caused by

Dr. Obaisi. Dr. Schaefer noted the injection site, but refused to provide Plaintiff any medical

treatment for his complaints despite Plaintiff’s insistence by responding, “We’re not going to

sit here and waste any more time talking about this, we’ve discussed it at length and this is not

what this appointment was about.”

       50.      On August 13, 2010 Plaintiff filed a grievance against Dr. Ghosh, Dr. Zhang,

and Dr. Schaefer for ignoring and not documenting his medical complaints. After not

receiving any medical attention Plaintiff composed another grievance in the form of a letter

on August 29, 2010.




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       51.     On September 6, 2010, Plaintiff sent an “emergency grievance” to Warden

Hardy complaining of severe pain in his abdomen, kidney, testicles, and bladder, swelling in his

abdomen and that he was unable to empty his bladder during urination. Plaintiff informed

Warden Hardy that the urine retention was placing him at risk of kidney damage and the medical

staff was denying him treatment for this condition. Plaintiff specifically requested medical care

at an outside hospital to diagnose and treat his condition. Warden Hardy denied the grievance,

deeming it a “non-emergency.”

       52.     On September 17, 2010, Plaintiff was seen by Dr. Ghosh and reported pain in

his side that radiated to his abdomen as well as trouble urinating and emptying his

bladder during urination. He also informed Dr. Ghosh that the kidney stones had begun to

re-develop. Dr. Ghosh allegedly referred Plaintiff to the Urology Clinic at University of

Illinois at Chicago (UIC) Hospital, located in Chicago, IL; and the appointment was allegedly

approved by Wexford on September 22, 2010. However, the appointment was never followed

through, that is Plaintiff was never transported to UIC Hospital for consultation.

       53.     On September 22, 2010 Plaintiff sent another “emergency grievance” to

Warden Hardy requesting immediate medical care from an outside hospital. Plaintiff informed

Warden Hardy that he was in constant severe pain and could not urinate enough to empty

his bladder. The Grievance Officer responded to the grievance approximately 7 months later

and dismissed the grievance. Warden Hardy denied the grievance again, deeming it a “non-

emergency.”

       54.     By September 25, 2010 Plaintiff had not urinated for 24 hours and was

admitted to the Stateville infirmary for 3 days where a catheter had to be installed so




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Plaintiff’s bladder could drain. The need for catheterization and inability to urinate was

documented in Plaintiff’s medical chart.

       55.     On January 5, 2011, Plaintiff was ordered by Defendant Kissell to provide a

urine specimen for purposes of drug testing. Defendant Kissell informed Plaintiff that he had

two hours to provide the urine specimen. Plaintiff informed Defendant Kissell that he had a

medical condition that affected his ability to urinate and that it may take him additional time to

produce a urine sample per Defendant Kissell’s orders. Defendant Kissell dismissed Plaintiff’s

concerns and informed Plaintiff that non-compliance would result is penalties, including

solitary confinement. Plaintiff indicated to Defendant Kissell that his medical records

contained information from physicians describing his inability to urinate normally.

       56.     On January 5, 2011, after multiple attempts to urinate, Plaintiff was unable to

produce the requested urine sample in the time period allotted. Defendant Kissell informed

Plaintiff that he was sentencing Plaintiff to disciplinary action including six months C grade

and six months of segregation. Plaintiff requested that he be allowed additional time to produce

a specimen due to his medical condition but Defendant Kissell denied Plaintiff’s request stating

that Plaintiff’s story was “bullshit.” Plaintiff requested that Defendant Kissell contact the health

care unit to verify his condition but Defendant Kissell refused to do so. Defendant Kissell stated

to Plaintiff that he was “going to seg” and that Plaintiff could “file a grievance.”

       57.     Upon information and belief, Defendant Kissell had a duty to investigate

Plaintiff’s claim that a medical condition prevented him from urinating in the allotted time, yet

he ignored that duty. In failing to investigate whether Plaintiff had a medical condition that

prevented him from urinating regularly, as well as in wrongfully punishing Plaintiff with, among




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other discipline, six months of C-grade and six months of segregation, Defendant Kissell acted in

conscious disregard for Plaintiff’s welfare.

       58.     On January 6, 2011, Defendant Jackson served Plaintiff with a disciplinary report

for his failure to timely provide a urine sample. Plaintiff informed Defendant Jackson about his

medical condition and told her that his condition could be verified by Stateville medical staff

and/or his medical records. Plaintiff requested that Defendant Jackson verify his condition and

that she assist him in securing this evidence for his upcoming hearing before the Adjustment

Committee since Plaintiff was housed in segregation and was unable to secure this evidence

himself.

       59.     Defendant Jackson informed Plaintiff that she was only there to serve him with a

disciplinary report and would not honor his requests.

       60.     On January 10, 2011, Plaintiff filed a grievance in response to the disciplinary

report he received for not producing a urine sample. The grievance indicated that his difficulty

urinating was documented in his medical records. Plaintiff requested: (1) he be removed from

segregation and be placed “back in Unit B;” (2) and that the disciplinary ticket be expunged

and removed from his “record.”

       61.     Plaintiff made several requests for copies of his medical records but all of these

requests went unanswered. Plaintiff also made several requests to the clerk of the law library for

access to his legal boxes stored at the library so that he could retrieve copies of grievances and

other documents that would substantiate his medical condition. These requests were ignored for

several months. Additionally, Plaintiff submitted a written request to the Adjustment Committee

that Dr. Ghosh and/or one of his medical technicians/assistants be called as witnesses at




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Plaintiff’s upcoming hearing so that they could substantiate his medical condition but Defendants

Franklin and Frederick refused to call these witnesses at the hearing.

       62.     On January 13, 2011, Plaintiff’s scheduled hearing in front of the Adjustment

Committee took place. The Adjustment Committee was composed of Defendants Franklin and

Frederick. Plaintiff’s request to dismiss the disciplinary report and expunge the charges were

denied based, in part, upon on the notion that Plaintiff had not offered proof of a health

condition affecting his ability to urinate. Plaintiff asked Defendants Franklin and Frederick why

he was not allowed to call witnesses at the hearing, nor offer his medical records as proof of his

medical condition, and he was informed by Defendant Franklin that this evidence was not

necessary because the disciplinary report spoke for itself. This final decision was approved by

Warden Hardy.

       63.     In failing to allow Plaintiff to call witnesses at the hearing, to offer his medical

records, or to otherwise determine whether Plaintiff had a legitimate medical condition that

prevented him from urinating regularly, Defendants Franklin and Frederick failed to intervene to

prevent Defendant Kissell from charging Plaintiff with disciplinary action that resulted in,

among other discipline, six months C-grade and six months of segregation. Defendants Franklin

and Frederick had a duty to allow Plaintiff to present such evidence. Defendants Franklin and

Frederick also had a reasonable opportunity in the form of the Adjustment Committee hearing to

prevent Plaintiff from being disciplined as a result of the faulty disciplinary report.

       64.     On January 19, 2011, Plaintiff received the final summary report issued by the

Adjustment Committee. This report indicated that Plaintiff had been found guilty of violating

the drug testing procedure and that he was being sentenced to six months of segregation, six

months good time revocation, 6 months of commissary restriction, six months of C-grade, and



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six months of contact visit restriction. The guilty verdict was based on the materially false

statements by Defendants Franklin and Frederick indicating that Plaintiff “could not produce

proof of the medical condition he claimed he had,” and that Plaintiff’s “medical record has

nothing about Liebich having a urinating problem. Defendant Hardy approved the Adjustment

Committee’s final summary report on January 18, 2011.

       65.     On January 26, 2011, Plaintiff filed another grievance appealing the

Adjustment Committee’s Final Report, with firm evidence found in Plaintiff’s medical records

composed by Plaintiff’s attending physicians indicating Plaintiff’s difficulty and even inability to

urinate. After further review, the Grievance Officer’s response to these grievances

recommended that Plaintiff’s disciplinary report be expunged. However, Warden Hardy, as the

final policy-maker, did not concur with the Grievance Officer’s recommendations and denied

the grievance, thus enforcing the disciplinary action for Plaintiff’s failure to produce a urine

sample on January 5, 2011.

       66.     On February 19, 2011 Heather Kirkwood wrote a letter to Warden Hardy in

which she expressed her concern for Plaintiff’s well being. In her letter, Ms. Kirkwood

addressed Plaintiff’s inability to urinate and the subsequent disciplinary report for lack of

providing a urine sample on January 5, 2010. After further correspondence, and obtaining

Plaintiff’s medical records, Ms. Kirkwood sent specific evidence of Plaintiff’s difficulty

urinating found in the Physician’s notes of Plaintiff’s medical records to Warden Hardy.

Shortly following Heather Kirkwood’s correspondence with Warden Hardy, Plaintiff was sent

to UIC Hospital.

       67.     At no time did Defendant Hardy expunge Plaintiff’s disciplinary ticket. On June

3, 2011, the Administrative Review Board affirmed the denial of Plaintiff’s grievance.



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       68.     On or about March 2, 2011, a computerized axial tomography (“CAT”) scan was

performed which revealed that Plaintiff had developed another kidney stone in one of his

kidneys.

       69.     On May 9, 2011, a procedure was conducted at UIC Hospital to look inside

Plaintiff’s urethra and bladder. The urology specialist diagnosed Plaintiff with a swollen

Prostate and prescribed medication to help Plaintiff urinate and to treat his Prostate condition.

       70.     To date the Plaintiff has never received the medication prescribed by the

urology specialist at UIC Hospital on May 9, 2011.

       71.     Plaintiff has made numerous attempts to obtain this medication by informing the

medical staff, writing three letters to the Medical Director and sending another “emergency

grievance” to Warden Hardy. Warden Hardy denied the grievance, deeming it a “non-

emergency.”

       72.     In March, 2011, Plaintiff asked Defendant Franklin directly why he had issued an

Adjustment Committee report that contained the false statements referenced above. Defendant

Franklin responded that any evidence Plaintiff had to the contrary did not matter because

Plaintiff’s disciplinary ticket had been issued by Internal Affairs and that Defendant would not

simply “throw out” an Internal Affairs ticket.

       73.     Upon information and belief, Defendant Warden Hardy received at least four

grievances from Plaintiff regarding the medical care he received (or the lack thereof) at the hands

of the Wexford Defendants. Despite being made aware of the Wexford Defendants’ ongoing

deliberate indifference to Plaintiff’s serious medical condition, Defendant Hardy did nothing to

ensure that Plaintiff received the medical care that he required. Nor did Defendant Hardy do

anything to prevent the Wexford Defendants from inflicting further injury on Plaintiff by, among



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other things, performing medical procedures for which they were wholly unqualified. Defendant

Hardy had the opportunity to intervene and prevent further harm to Plaintiff but failed to do so.

       74.     Upon information and belief, Defendant Warden Hardy received at least three

grievances regarding the disciplinary report issued against Plaintiff, as well as the Adjustment

Committee hearing in which Plaintiff was barred from presenting evidence on his behalf.

Despite this knowledge, Defendant Hardy did nothing to prevent the disciplinary action taken

against Plaintiff. Indeed, despite the recommendation from a Grievance Officer that Plaintiff’s

disciplinary report should be expunged because his medical records clearly indicated that he has

a medical condition that affects his ability to urinate, Defendant Hardy denied Plaintiff’s

grievances effectively enforcing the disciplinary action against him. Again, Defendant Hardy

had the opportunity to intervene and prevent further harm to Plaintiff but failed to do so.

       75.     In failing to act upon Plaintiff’s grievances, Defendant Hardy acted in conscious

disregard of, and with deliberate indifference to, Plaintiff’s welfare.

       76.     Upon information and belief, at all relevant times, Plaintiff’s condition had been

obvious and known by the Defendants yet the Defendants have deliberately denied and/or

delayed necessary and obvious medical care.

       77.     Upon information and belief, at all relevant times, the Defendants have known

Plaintiff’s need for the referral to a specialist to treat Plaintiff’s medical issues, however

Defendants have deliberately continued to deny and/or delayed such medical care.

       78.     Upon information and belief, at all relevant times, the Defendants have known of

Plaintiff’s need for having his prescribed medications to be administered, however Defendants

have continued to deny and/or delay the administering of such medications.




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        79.      Upon information and belief, IDOC, Stateville, and/or Defendant Hardy has a

policy and/or practice of affirming all disciplinary tickets issued by Internal Affairs.

        80.      Upon information and belief, Plaintiff has suffered retaliation from employees

of Stateville including transfer to solitary confinement, for seeking medical care, and fighting

for civil rights via litigation.

                                             Exhaustion

        81.      The Prison Litigation Reform Act, 42 U.S.C § 1997 (e)(a), provides that no

action be brought by a prisoner with respect to prison conditions until “such administrative

remedies as are available are exhausted.”

        82.      Plaintiff has exhausted all available administrative remedies by repeatedly

initiating formal grievance procedures in effort to obtain proper medical treatment. All of

Plaintiff’s grievances have been improperly denied.

                                              Count I
                         (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                     (Defendant Warden Hardy)

        83.      Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        84.      The Eighth Amendment of the United States Constitution prohibits the Cruel

and Unusual Punishment of United States Citizens by the Federal Government.

        85.      As described more fully above, Defendant Hardy is liable in his individual

capacity for the violation of Plaintiff’s rights under the Eighth Amendment because he was

aware of Plaintiff’s serious medical needs and was deliberately indifferent to them, resulting in

harm to Plaintiff.

        86.      In addition, and also as described more fully above, Defendant Hardy is liable in

his official capacity as an IDOC final policy-maker for maintaining a widespread policy,



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practice, or custom at Stateville that was the moving force behind the violation of Plaintiff’s

Eighth Amendment rights as described in Counts II-VI of this complaint. Specifically, Defendant

Hardy maintained a policy, practice, or custom at Stateville of inadequately investigating and

responding to inmate complaints regarding medical care, thereby ensuring that the actions of

IDOC agents/employees responsible for providing medical care to inmates were never subject to

any meaningful scrutiny. In this way, Defendant Hardy acquiesced in, encouraged, and/or

authorized the very type of misconduct at issue in Counts II-VI.

WHEREFORE, Plaintiff prays that the Court:

   a) issue a preliminary and permanent injunction enjoining Defendant from denying and/or

       further delaying Plaintiff the necessary medical treatment as required;

   b) enter judgment against Defendant and in favor of Plaintiff for damages in an

       amount to be proven at trial;

   c) enter a judgment against Defendant for punitive damages;

   d) enter a judgment against Defendant and in favor of Plaintiff for costs of

       prosecuting this actions;

   e) order such further relief as this Court may deem appropriate.

                                            Count II
                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                     (Defendant – Wexford)

       87.      Plaintiff incorporates paragraphs each paragraph of this Complaint is if restated

fully herein.

       88.      The Eighth Amendment of the United States Constitution prohibits the Cruel

and Unusual Punishment of United States Citizens by the Federal Government.




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        89.    Plaintiff’s rights under the Eighth Amendment to be free from Cruel and Unusual

Punishment by the State of Illinois has been abridged by Wexford’s deliberate indifference to

plaintiff’s serious medical needs.

        90.    While in the custody of the State of Illinois, Plaintiff is restrained from caring for

himself and Wexford has deliberately delayed and/or deliberately denied medical care

necessary to alleviate obvious severe pain and suffering resulting from Plaintiff’s kidney

stones and urinary complications.

        91.    At all times relevant to the events at issue in this Complaint, Defendant Wexford

was under contract to the State of Illinois, through the IDOC, to provide health care to inmates at

Stateville, including Plaintiff. In this capacity, Defendant Wexford acted under color of law, and

Wexford, as provider of healthcare services to inmates at Stateville, was responsible for the

creation, implementation, oversight, and supervision of all policies and procedures followed by

Wexford and IDOC employees who were medical care providers to inmates incarcerated at

Stateville.

        92.    At all times relevant to the events at issue in this Complaint, Wexford maintained

a policy or procedure under which inmates with serious medical conditions, like Plaintiff, were

routinely denied access to proper or sufficient medical care. Wexford’s policies and procedures

resulted in the frequent failure and refusal of its employees to provide proper or adequate

medication and medical care to inmates. Wexford had a constitutional obligation to maintain

and provide continuing adequate and appropriate medical care and treatment of prisoners

incarcerated at Stateville. As a direct and proximate result of the unconstitutional policies and

procedures of Wexford, Plaintiff was deprived of his rights under the Eighth Amendment of the

United States Constitition.



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       93.     At all relevant times, Wexford, by and through its agents, knew of Plaintiff’s

need for specialized medical care, knew that failure to timely provide such care would

aggravate his medical conditions and injuries, and knew their failure to provide such care

would exacerbate severe pain and suffering caused by these medical conditions and injuries.

However, Wexford deliberately failed to take reasonable steps to ensure Plaintiff received the

medical care required.

       94.     Upon information and belief, Wexford showed deliberate indifference to

Plaintiff’s serious medical needs by:

   a) having a policy that pressured and/or required defendants, as employees and/or agents

       of Wexford, to deny necessary medical care and treatment due to budgeting

       constraints;

   b) having a policy that caused unnecessary delay in Plaintiff’s emergency medical

       transport on June 26, 2010.

       95.     As a direct and proximate result of Wexford’s policies, Plaintiff’s serious

medical needs, and his pain and suffering have been exacerbated resulting in physical and

emotional injuries.

WHEREFORE, Plaintiff prays that the Court:

   a) issue a preliminary and permanent injunction enjoining Wexford and its employees

       and/or agents from denying and/or further delaying Plaintiff the necessary medical

       treatment as alleged;

   b) enter judgment against Wexford and in favor of Plaintiff for damages in an

       amount to be proven at trial;

   c) enter a judgment against Wexford for punitive damages;



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   d) enter a judgment against Wexford and in favor of Plaintiff for costs of prosecuting this

        actions;

   e) order such further relief as this Court may deem appropriate.

                                           Count III
                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment
                                    (Defendant – Dr. Ghosh)

        96.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        97.    The Eighth Amendment of the United States Constitution prohibits the Cruel

and Unusual Punishment of United States Citizens by the Federal government.

        98.    Plaintiff rights under the Eighth Amendment to be free from Cruel and Unusual

Punishment by the State of Illinois have been abridged by Dr. Ghosh's deliberate indifference to

Plaintiff's serious medical needs.

        99.    While in the custody of the State of Illinois, Plaintiff is restrained from caring for

himself and Dr. Ghosh has deliberately delayed and/or denied medical care necessary to

alleviate obvious severe pain and suffering resulting from known medical complications and

severe injuries.

        100.   Dr. Ghosh, at all times relevant to this complaint, was an employee and/or

agent of Wexford and the Medical Director of Stateville Correctional Center.

        101.   Upon information and belief, as Medical Director of Stateville, Dr. Ghosh

had final policy and decision making authority with regard to Plaintiff’s medical treatment and

care.

        102.   Dr. Ghosh caused Plaintiff’s constitutional injuries by deliberately failing to

take reasonable steps to ensure Plaintiff received the medical treatment and care necessary.




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       103.   Dr. Ghosh showed deliberate indifference to Plaintiff’s serious medical needs by:

   a) deliberately refusing to order additional diagnostic tests despite Plaintiff’s lab results

       and symptoms;

   b) deliberately refusing to refer and transfer Plaintiff to a specialist who was able to treat

       Plaintiff’s kidney stones and urinary complications;

   c) deliberately disregarding Plaintiff’s pain and suffering;

   d) deliberately disregarding the potential risk of damage to Plaintiff’s kidneys from

       prolonged urine retention, caused by inability to urinate;

   e) deliberately failing to provide necessary and proper pain medication to alleviate

       Plaintiff’s pain and suffering caused by his kidney stones and unresolved urinary

       complication;

   f) approving, condoning and disregarding the denial of medication treatment prescribed

       by doctors under his supervision;

   g) deliberately failing to provide more than just cursory medical treatment.

       104.   As a direct and proximate result of Dr. Ghosh’s deliberate indifference to

Plaintiff’s serious medical needs, and his pain and suffering have been exacerbated resulting

in physical and emotional injuries.

WHEREFORE, Plaintiff prays that the Court:

   a) issue a preliminary and permanent injunction enjoining the defendant from denying

       and/or further delaying Plaintiff the necessary medical treatment as alleged;

   b) enter judgment against Defendant and in favor of Plaintiff for damages in an

       amount to be proven at trial;

   c) enter a judgment against Defendant for punitive damages;



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    d) enter a judgment against Defendant and in favor of Plaintiff for costs of prosecuting

        this actions;

    e) order such further relief as this Court may deem appropriate.

                                            Count IV
                        (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                      (Defendant – Dr. Zhang)

        105.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        106.    The Eighth Amendment of the United States Constitution prohibits the Cruel

and Unusual Punishment of United States Citizens by the Federal government.

        107.    Plaintiff’s rights under the Eighth Amendment to be free from Cruel and Unusual

Punishment by the State of Illinois have been abridged by Dr. Zhang’s deliberate indifference to

Plaintiff's serious medical needs.

        108.    Dr. Zhang, at all times relevant to this complaint, was an employee and/or agent

of Wexford and the Medical Director of Stateville Correctional Center.

        109.    While in the custody of the State of Illinois, Plaintiff is restrained from caring for

himself and Dr. Zhang has deliberately delayed and/or denied medical care necessary to alleviate

obvious severe pain and suffering resulting from known medical complications and severe

injuries.

        110.    Dr. Zhang caused Plaintiff’s constitutional injuries by deliberately failing to take

reasonable steps to ensure Plaintiff received the medical care he required.

        111.    Dr. Zhang showed deliberate indifference to Plaintiff’s serious medical needs by:

    a) Prescribing medication that may have further aggravated Plaintiff’s medical

        condition;




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   b) deliberately refusing to order additional diagnostic testing despite Plaintiff’s prior lab

       tests’ results and symptoms establishing abnormalities;

   c) deliberately refusing to refer Plaintiff to the appropriate specialist who would have

       been able to appropriately treat Plaintiff’s medical condition;

   d) deliberately disregarding the potential risk of damage to Plaintiff’s kidneys from

       prolonged urine retention, caused by inability to urinate;

   e) deliberately failing to provide necessary and proper pain medication to alleviate

       Plaintiff’s pain and suffering caused by his kidney stones and unresolved urinary

       complication;

   f) approving, condoning and disregarding the denial of medication treatment prescribed

       by doctors under his supervision;

   g) deliberately failing to provide more than just cursory medical treatment.

       112.    As a direct result of Dr. Zhang’s conduct towards the Plaintiff’s serious medical

needs, Plaintiff’s pain and suffering has been has needlessly been exacerbated, resulting in

physical and emotional injuries.

WHEREFORE, Plaintiff prays that the Court:

   a) enter judgment against Defendant and in favor of Plaintiff for damages in an

       amount to be proven at trial;

   b) enter a judgment against Defendant for punitive damages;

   c) enter a judgment against Defendant and in favor of Plaintiff for costs of prosecuting

       this actions;

   d) order such further relief as this Court may deem appropriate.




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                                            Count V
                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                   (Defendant – Dr. Schaefer)

       113.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

       114.    The Eighth Amendment of the United States Constitution prohibits the Cruel and

Unusual Punishment of United States Citizens by the Federal government.

       115.    Plaintiff’s rights under the Eighth Amendment to be free from Cruel and Unusual

Punishment by the State of Illinois have been abridged by Dr. Schaefer’s deliberate

indifference to Plaintiff's serious medical needs.

       116.    Dr. Schaefer, at all times relevant to this complaint, was an employee and/or

agent of Wexford and the Medical Director of Stateville Correctional Center.

       117.    While in the custody of the State of Illinois, Plaintiff is restrained from caring for

himself and Dr. Schaefer has deliberately delayed and/or denied medical care necessary to

alleviate obvious severe pain and suffering resulting from known medical complications and

severe injuries.

       118.    Dr. Schaefer showed deliberate indifference to Plaintiff’s medical serious

medical needs by:

   a) deliberately refusing to perform more than a cursory examination;

   b) deliberately refusing to provide medical treatment to Plaintiff specific to his

       complaints expressed to Dr. Schaefer on August 10, 2010;

   c) deliberately disregarding Plaintiff’s pain and suffering caused by his unresolved

       medical condition;

   d) deliberately disregarding the potential risk of damage to Plaintiff’s kidneys from

       prolonged urine retention;



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   e) deliberately disregarding the potential risk of damage to Plaintiff’s kidneys from

       prolonged urine retention, caused by inability to urinate;

   f) approving, condoning and disregarding the denial of medication treatment

       prescribed by doctors under his supervision;

   g) deliberately failing to provide necessary and proper medication to alleviate

       Plaintiff’s condition, including pain and suffering;

   h) deliberately failing to refer Plaintiff to the appropriate specialist who would have been

       able to treat Plaintiff’s medical condition.

       119.    As a direct result of Dr. Schaefer’s conduct and deliberate indifference to

Plaintiff’s serious medical needs, Plaintiff’s pain and suffering has needlessly been exacerbated,

resulting in physical and emotional injuries.

WHEREFORE, Plaintiff prays that the Court:

   a) enter judgment against Defendant and in favor of Plaintiff for damages in an

       amount to be proven at trial;

   b) enter a judgment against Defendant for punitive damages;

   c) enter a judgment against Defendant and in favor of Plaintiff for costs of

       prosecuting this actions;

   d) order such further relief as this Court may deem appropriate.

                                           Count VI
                       (42 U.S.C. § 1983 – Cruel and Unusual Punishment)
                                     (Defendant- Dr. Obaisi)

       120.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

       121.    The Eighth Amendment of the United States Constitution prohibits the Cruel and

Unusual Punishment of United States Citizens by the Federal government.



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        122.   Plaintiff’s rights under the Eighth Amendment to be free from Cruel and Unusual

Punishment by the State of Illinois have been abridged by Dr. Obaisi’s deliberate indifference to

Plaintiff's serious medical needs.

        123.   Dr. Obaisi, at all times relevant to this complaint, was an employee and/or agent

of Wexford and the Medical Director of Stateville Correctional Center.

        124.   While in the custody of the State of Illinois, Plaintiff is restrained from caring for

himself and Dr. Obaisi has deliberately delayed and/or denied medical care necessary to alleviate

obvious severe pain and suffering resulting from known medical complications and severe

injuries.

        125.   Dr. Obaisi caused Plaintiff’s constitutional injuries by attempting a surgical

procedure without necessary and appropriate medical instruments, in an effort to prevent sending

Plaintiff to an appropriate hospital to receive the emergency medical treatment Plaintiff required.

        126.   Dr. Obaisi showed deliberate indifference to Plaintiff’s serious medical needs by:

    a) deliberately failing to timely transfer Plaintiff for emergency care by a specialist

        capable of performing the necessary surgical treatment;

    b) deliberately failing to provide necessary and proper anesthesia to alleviate

        Plaintiff’s pain and suffering before attempting the surgical procedure;

    c) deliberately disregarding the potential risk of damage to Plaintiff’s kidneys and

        prolonged urine retention;

    d) causing injuries to Plaintiff’s urethra as a direct result of his attempted surgical

        procedure.




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       127.    As a direct result of Dr. Obaisi’s conduct and deliberate indifference to Plaintiff’s

serious medical needs, Plaintiff’s pain and suffering has needlessly been exacerbated, resulting in

physical and emotional injuries.

WHEREFORE, Plaintiff prays that the Court:

   a) enter judgment against Defendant and in favor of Plaintiff for damages in an

       amount to be proven at trial;

   b) enter a judgment against Defendant for punitive damages;

   c) enter a judgment against Defendant and in favor of Plaintiff for costs of

       prosecuting this actions;

   d) order such further relief as this Court may deem appropriate.

                                             Count VII
                                   (42 U.S.C. § 1983 – Retaliation)
                                     (Defendant – Warden Hardy)

       128.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

       129.    The First Amendment of the United States Constitution prohibits Retaliation

against an incarcerated person preventing him from exercising his constitutional rights.

       130.    Plaintiff’s rights under the First Amendment to be free from Retaliation by the

State of Illinois have been abridged by Warden Hardy’s denial of Plaintiff's grievances

addressing the discipline he received for his physical inability to produce a urine specimen upon

request.

       131.    At all times relevant to this complaint, Warden Hardy was an employee of

IDOC and the Warden and/or Chief Administrative Officer at Stateville.

       132.    While in the custody of the State of Illinois, Plaintiff was disciplined and placed

in solitary confinement for six months following his physical inability to produce a urine



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specimen on January 5, 2011. Plaintiff appropriately filed grievances addressing the discipline he

received and requested an expungement of such discipline by presenting firm evidence of his

medical condition and physical inability to urinate found in his medical records held by

Stateville.

        133.    Upon information and belief, Warden Hardy’s retaliation was related to Plaintiff’s

numerous requests for medical care and grievances related to the Defendants’ failure to provide

necessary medical care filed between April 2, 2010 and January 5, 2011.

        134.    Upon information and belief, retaliation was further evidenced by Warden

Hardy’s deliberate denial of Plaintiff’s request, and the Administrative Review Board’s

recommendation for expungement of discipline received following Plaintiff’s grievances

filed after January 5, 2011 addressing his medical condition and his inability to produce a

urine specimen.

        135.    Upon information and belief, at all relevant times, by numerous grievances filed

and recommendations made by the Administrative Review Board, Warden Hardy was aware of

Plaintiff’s inability to urinate due to his medical condition. However, Warden Hardy deliberately

and willfully denied the Administrative Review Board’s recommendation, which was based on

firm evidence, addressing his physical inability to urinate.

        136.    Warden Hardy, in his supervising and official capacity retaliated against

Plaintiff by:

    a) deliberately disregarding and/or denying Plaintiff’s grievances and/or complaints

        expressly indicating Plaintiff was physically unable to produce a urine specimen;

    b) deliberately and willfully disregarding the Administrative Review Board’s

        recommendation based upon firm medical evidence;



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   c) approving, condoning and recommending that Plaintiff remain in solitary

       confinement, and denying Plaintiff’s request to expunge the discipline received,

       despite Plaintiff’s physical inability to produce a urine specimen.

       137.    As a direct result of Warden Hardy’s acts and/or omissions, Warden Hardy denied

Plaintiff his constitutional rights including Plaintiff’s right to seek redress through the

administrative grievance process, by placing him in solitary confinement and not expunging the

discipline Plaintiff received, despite medical evidence proving Plaintiff’s physical inability to

urinate and the Administrative Review Board’s contradicting findings and recommendation to

expunge the discipline Plaintiff received. Accordingly, Plaintiff’s serious medical needs, and his

pain and suffering have been exacerbated resulting in physical and emotional injuries.

WHEREFORE, Plaintiff prays that the Court:

   a) enter judgment against Defendant and in favor of Plaintiff for damages in an

       amount to be proven at trial;

   b) enter a judgment against Defendant for punitive damages;

   c) enter a judgment against Defendant and in favor of Plaintiff for costs of

       prosecuting this actions;

   d) order such further relief as this Court may deem appropriate.

                                          Count VIII
                            (42 U.S.C. § 1983 – Failure to Intervene)
                          (Defendants – Hardy, Franklin, and Frederick)

       138.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

       139.    As described more fully above, Defendants Hardy, Frederick, and Franklin had a

reasonable opportunity to prevent the violation of Plaintiff’s constitutional rights as set forth

above had they been so inclined, but failed to do so.



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        140.    Defendants’ actions were undertaken intentionally, with malice and with reckless

indifference to Plaintiff’s rights.

        141.    As a direct and proximate result of the misconduct described in this Count,

Plaintiff’s rights were violated and he suffered physical and emotional injuries.

        142.    Plaintiff’s injuries were caused by employees of IDOC and/or Wexford,

including, but not limited to, the individually named Defendants, who acted pursuant to the

policies and practices of IDOC and/or Wexford.

                                             Count IX
                            (42 U.S.C. § 1983 – Procedural Due Process)
                        (Defendants – Hardy, Kissell, Franklin, and Frederick)

        143.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        144.    As described more fully above, Defendants Hardy, Kissell, Franklin, and

Frederick violated Plaintiff’s right to procedural due process by depriving Plaintiff of impartial

decision making in both the composition of and the process utilized by the Adjustment

Committee; by depriving Plaintiff of the right to call witnesses and/or present documentary

evidence at his Adjustment Committee hearing; and by publishing a final report recommending,

among other punishments, six months of segregation, when there was no evidence to support this

disciplinary verdict.

        145.    Defendants’ actions were undertaken intentionally, with malice and with reckless

indifference to Plaintiff’s rights.

        146.    As a direct and proximate result of the misconduct described in this Count,

Plaintiff’s rights were violated and he suffered physical and emotional injuries.




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                                             Count X
                             (42 U.S.C. §§ 12131-12134 – ADA Claim)
                                        (Defendant – IDOC)

        147.    Plaintiff incorporates each Paragraph of his Complaint as if restated fully herein.

        148.    As described more fully above, Plaintiff suffers from a physical impairment that

substantially limits one or more of his life activities, including, the ability to relieve himself

normally.

        149.    As described more fully above, this physical impairment prevents and/or severely

restricts Plaintiff from doing an activity that is of central importance to daily life.

        150.    As described more fully above, Plaintiff sought a reasonable accommodation for

this physical impairment and one or more of the Defendants refused to provide Plaintiff with a

reasonable accommodation.

        151.    As a direct and proximate result of the misconduct described in this Count,

Plaintiff’s rights were violated and he suffered physical and emotional injuries.

        152.    Plaintiff’s injuries were caused by employees of IDOC, including, but not limited

to, the individually named Defendants, who acted pursuant to the policies and practices of IDOC

and/or Stateville.

                                            Count XI
                           (29 U.S.C. § 794 – Rehabilitation Act Claim)
                                       (Defendant – IDOC)

        153.    Plaintiff incorporates each Paragraph of his Complaint as if restated fully herein.

        154.    As described more fully above, Plaintiff suffers from a physical impairment that

substantially limits one or more of his life activities, including, the ability to relieve himself

normally.




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        155.    As described more fully above, this physical impairment prevents and/or severely

restricts Plaintiff from doing an activity that is of central importance to daily life.

        156.    As described more fully above, Plaintiff sought a reasonable accommodation for

this physical impairment and one or more of the Defendants refused to provide Plaintiff with a

reasonable accommodation.

        157.    As a direct and proximate result of the misconduct described in this Count,

Plaintiff’s rights were violated and he suffered physical and emotional injuries.

        158.    Plaintiff’s injuries were caused by employees of IDOC, including, but not limited

to, the individually named Defendants, who acted pursuant to the policies and practices of IDOC

and/or Stateville.

                                          Count XII
                     (State Law Claim – Willful and Wanton Misconduct)
     (Defendants – Hardy, Franklin, Frederick, Kissell, Ghosh, Zhang, Schaefer, and Obaisi)

        159.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

        160.    In the manner described more fully above, the actions of Defendants breached the

duty of care owed to inmates in their care. They did so by ignoring Plaintiff’s requests for

medical attention.

        161.    In the manner described more fully above, the actions of Defendants were willful

and wanton in that they demonstrated an utter indifference to the safety of others. Defendants

were aware that an injury would likely result from the above-described course of action and

recklessly disregarded the consequences of those actions.

        162.    As a direct and proximate result of Defendants’ negligence and/or willful and

wanton misconduct, Plaintiff suffered tremendous pain and additional injury.




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                                            Count XIII
                              (State Law Claim – Medical Negligence)
                         (Defendants – Ghosh, Zhang, Schaefer, and Obaisi)

       163.      Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

Plaintiff additionally incorporates the attorney’s affidavits and physician’s certificates, submitted

pursuant to 735 ILCS 5/2-622, which have been attached to this Complaint as Exhibit A.

       164.      In the manner described more fully above, Defendants Ghosh, Zhang, Schaefer,

and Obaisi, in rendering medical care and treatment to Plaintiff and/or holding themselves out as

professionals who were rendering medical care and treatment to Plaintiff, had a duty to possess

and apply the skill and care of reasonably well-qualified physicians in the same and similar

circumstances.

       165.      Defendants, in derogation of their aforementioned duty, were negligent in the

provision of medical care to Plaintiff. Plaintiff’s injuries were sustained as a direct and

proximate result of one or more of the negligent acts and/or omissions of Defendants Ghosh,

Zhang, Schaefer, and Obaisi.

       166.      Plaintiff has attached as Exhibit A to this Complaint an attorney’s affidavits and

physician’s certificates for Defendants Ghosh, Zhang, Schaefer, and Obaisi in compliance with

735 ILCS 5/2-622.

                                            Count XIV
                   State Law Claim - Intentional Infliction of Emotional Distress)
                         (Defendants – Ghosh, Zhang, Schaefer, and Obaisi)

       167.      Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

       168.      In a manner described more fully above, by denying Plaintiff medical attention,

the Defendants Ghosh, Zhang, Schaefer, and Obaisi engaged in extreme and outrageous conduct.

       169.      Defendants’ actions set forth above were rooted in an abuse of power or authority.



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       170.    Defendants’ actions set forth above were undertaken with intent or knowledge

that there was a high probability that the conduct would inflict severe emotional distress with

reckless disregard of that probability.

       171.    Defendants’ actions set forth above were undertaken with malice, willfulness, and

reckless indifference for the rights of others.

       172.    As a direct and proximate result of this misconduct, Plaintiff suffered injuries,

including severe emotional distress and great conscious pain and suffering.

                                            Count XV
                             (State Law Claim – Respondeat Superior)
                                      (Defendant – Wexford)

       173.    Plaintiff incorporates each Paragraph of this Complaint as if restated fully herein.

       174.    In committing the acts alleged above, Defendants Ghosh, Zhang, Schaeffer, and

Obaisi were employees and/or agents of Defendant Wexford Health Sources, Inc., acting at all

relevant times within the scope of their employment. As such, Defendant Wexford is liable as

principal for all torts committed by its employees and/or agents.

                                           Jury Demand

       Plaintiff demands a trial by jury pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure on all issues so triable.

       WHEREFORE, Plaintiff, RANDY LIEBICH, by and through his attorneys, LOEVY &

LOEVY, respectfully requests that this Court enter judgment in his favor and against Defendants

Warden Marcus Hardy, Albert J. Kissell, N. Jackson, Johnnie L. Franklin, Charles P. Frederick,

the Illinois Department of Corrections, Wexford Health Sources, Inc., Dr. Parathasarathi

Ghosh, Dr. Liping Zhang, Dr. Ronald Schaefer, and Dr. Saleh Obaisi, awarding




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compensatory damages, punitive damages, attorneys’ fees, and any other relief this Court deems

appropriate.


                                                          Respectfully Submitted,

                                                          /s/ Vincenzo Field


Arthur Loevy
Jon Loevy
Elizabeth Mazur
Vincenzo Field
Sarah Grady
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(312) 243-5900




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                                     Certificate of Service

     I, Vincenzo Field, an attorney, certify that on July 7, 2014, I caused the attached Fourth
Amended Complaint to be served on all counsel of record via the ECF system.

                                                              /s/ Vincenzo Field




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